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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

JAMIE LEONARD,                               )
          Plaintiff,                         )
                                             )
vs.                                          )       No: 4:19-cv-00927
                                             )
ST. CHARLES COUNTY                           )
MISSOURI, et. al,                            )
            Defendants.                      )


              DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT ON
                 PLAINTIFFS’ FOURTH AMENDED COMPLAINT

       COMES NOW Defendants, Steven Harris, Donte Fisher, Lisa Baker, Theresa Martin, and

St. Charles County (collectively “Defendants”), by and through undersigned counsel, and file

their Motion for Summary Judgment on Plaintiffs’ Second Amended Complaint, pursuant to

Federal Rule of Civil Procedure 56.

       As grounds for this Motion, and as more fully set forth in the Memorandum in Support,

Defendants move for Summary Judgment as follows:

       1.      This Court should grant Defendants summary judgment to as Count 1 of

Plaintiffs’ Fourth Amended Complaint as Plaintiff fails to show his constitutional rights were

violated by St. Charles County through a policy statement, ordinance, regulation, or decision

officially adopted and promulgated by that body’s officers as required pursuant to the Supreme

Court’s holding in Monell v. New York Depart. of Social Services, 436 U.S. (1978).

       2.      This Court should grant summary judgment as to Count 3 of Plaintiffs’ Fourth

Amended Complaint as the force purposely or knowingly used against Plaintiff by Defendants

was objectively unreasonable. Therefore, Plaintiff has failed to show a constitutional violation

as required under 42 U.S.C. § 1983
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       3.      This Court should grant summary judgment as to Counts 3 Plaintiff’s Fourth

Amended Complaint as Plaintiff’s claims fail to show he suffered from one or more objectively

serious medical needs, and that Defendants, actually knew of the medical needs but deliberately

disregarded those needs. Therefore, Plaintiffs have failed to show a constitutional violation as

required under 42 U.S.C. § 1983.

       4.      This Court should grant Defendants summary judgment as Plaintiff’s claims are

filed pursuant to 42 U.S.C. § 1983, and Plaintiff sued Defendants in their individual capacity.

Therefore, Defendants are entitled to qualified immunity.

       5.      Finally, this Court should grant Defendants Summary Judgment as Plaintiff has

failed to exhaust all of his administrative remedies as required pursuant to the Prison Litigation

Reform Act, 42 U.S.C. § 1997e(a), before initiating this litigation.

       6.      In support of this Motion for Summary Judgment, Defendants rely upon their

Memorandum filed in support of this Motion, the Statement of Uncontroverted Material Facts,

and upon all Exhibits submitted in support of this Motion, Statement of Uncontroverted Material

Facts and Suggestions.

       WHEREFORE, Defendants Steven Harris, Donte Fisher, Lisa Baker, Theresa Martin,

and St. Charles County, move this Court to grant this Motion for Summary Judgment and

dismiss Petitioner’s Fourth Amended Complaint against them with prejudice and to award their

attorneys’ fees and costs.
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                                            Respectfully submitted,

                                            OFFICE OF THE ST. CHARLES
                                            COUNTY COUNSELOR

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                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that the foregoing document was filed electronically
with the Clerk of the Court to be served by operation of the Court’s electronic filing system
upon:

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                                            /s/Drew A. Heffner

                                            Dated: April 30, 2021
